                      United States Court of Appeals
                                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                           ____________
No. 24-1135                                                      September Term, 2023
                                                                               EPA-89FR42932
                                                             Filed On: July 17, 2024
Denka Performance Elastomer LLC,

                  Petitioner

         v.

Environmental Protection Agency and
Michael Regan, Administrator, United States
Environmental Protection Agency,

                  Respondents

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Air Alliance Houston, et al.,
                  Intervenors
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Consolidated with 24-1228, 24-1246,
24-1249, 24-1250, 24-1251, 24-1252

         BEFORE:           Katsas, Rao, and Childs, Circuit Judges

                                              ORDER

      Upon consideration of the petition for reconsideration of the court’s June 26,
2024 order denying petitioner’s motion for a stay, it is

        ORDERED that the petition for reconsideration be denied. In neither the motion
for a stay nor the petition for reconsideration has petitioner established that it will be
irreparably harmed absent a stay given that it could but has not requested from
respondents an extension of the deadline to comply with the rule under review. See
Nken v. Holder, 556 U.S. 418, 434 (2009).

                                             Per Curiam

                                                               FOR THE COURT:
                                                               Mark J. Langer, Clerk

                                                       BY:     /s/
                                                               Selena R. Gancasz
                                                               Deputy Clerk
